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1N THE uNrTED_sTATEs DlSTRICT COURT _ ¢_
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FOR THE DlsTRlCT oF COLORADO ~ ` k_ ~ wtc-ii
MURRAY MEETZE. Civi1Action NO_; BY__.__....;.___GEP. C
Plaintiff,_ EMPLOYMENT _
v- DlSCRlMlNATIoN goMPLAINT
(Jury Trial Requested)
uN1VERSlTY o`F Co'L`oRADo NOTICE

BOULDER,
F ederal Rule of Civil Procedure 5.2
DEAN LORI BERGEN_ addresses the privacy and security
concerns resulting from public access
to electronic court flles. Under this
rule, papers filed with the'court
should not' contain: an individual’s
full social security number or full
birth date; the full name of a person
known to be a minor;*or a complete
financial account number. A filing
may include only: the last four digits
of a social security number; the year
of an individual’s birth; a minor’s
initials; and the last four digits of a
financial.account number.

Defendants.

 

 

 

 

A. PLAINTIFF INFORMATION
Murray Meetze, 2361 Goss St, Unit 104, Boulder CO 80302
803 -422-1247, murray.meetze@gmail.com
B. DEFENDANTS lNFORMATION
University of Colorado Boulder,‘ 924 Broadway, 013 UCI_B, Boulder, ¢O 80309
303-492_7481 t 'k l
Dean Lori Bergen, 478 UCB,'Boulder, CO 80309

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303-492-4364, lori.bergen@colorado.edu

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C. JURlSDlCTION

. Jurisdiction is Americans with Disabilities Act (ADA), as amended, 42 U.S.C. §§ 12101,

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et seq. F ederal jurisdiction of this Court is invoked pursuant to federal question

jurisdiction, 28 U.S.C. § 1331.

. Jurisdiction is the Colorado Anti-'Discrimination Act (CADA), as amended, C.R.S. § 24-

34-401 et seq. F ederal jurisdiction of this Court is invoked pursuant to federal question

jurisdiction, 28 U.S.\C. § 1367.

. Plaintiff is a citizen of the United States of America and resides in the County of Boulder,

Colorado.

. At all times relevant hereto, Plaintiff was employed by Defendant University of Colorado

Boulder in the County of Boulder, Colorado.

. Upon information and belief, Defendant University of Colorado Boulder is an employer,

engaged in an industry_affecting commerce who has 15 or more employees for each
working day in each of 20 or more calendar weeks in the current or preceding calendar
year, and any agent' of such person, except that, for two years following the effective date
of this subchapter, an employer means a person engaged in an industry affecting
commerce who has»25 or more employees for each working day in each of 20 or more
calendar weeks in the current or preceding year, and any agent of such person.

Upon information and belicf, the Americans with Disabilities Act, as amended, 42 U.S.C.
§§ 12101, et seq. applies to Defendant University of Colorado Boulder, as they are
engaged in an industry affecting commerce, which has 15 or more employees for each
working day in each of 20 or more calendar weeks in the cu"`rrent or preceding calendar

year.

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Upo_n information and belief, Defendant University of Colo'rado Boulder is an employer,
meaning the state of Colorado or any political subdivision, commission, department,
institution; or school district_thereof, and every other person employing persons within
the state.
Upon information and belief, the Colorado Anti-Discrimination Act (CADA), as
amended, C.R.S. § 24-34-401 et seq. applies to Defendant University of Colorado
Boulder, as they are the state of Colorado or any political subdivision, commission,
department, institution, or school district thereof, and every other person employing
persons within the state.`
Upon information and belief, Defendant Dean Lori Bergen is an individual currently
residing in the State of (;olorado in the county of Boulder.

> D. STATEMENT OF FACTS
Plaintiff was an employee of University of Colorado Boulder (UCB) from around August
2014 until her illegal discharge on August 18, 2017.
Plaintiff has life-long allergies, to mold and mildew, a history of asthma, and Mast Cell
,Activation Syndrome (MCAS), an immunological disorder,.which all substantially limit
one or more life activities, including breathing, when activated by triggers, such as mold.
Plaintiff has l{heumatoid Arthritis and Chronic lnflammatory Demyelinating
Polyneuropathy (CIDP), both systemic autoimriiune diseases, which substantially limit
one or more life activities, including the operation of the functions of the immune system
and the neurological system. 1
Plaintiff has ldiopathic Hypersomnia, a rare sleep disordef similar to'Narcolepsy, and

Delayed Slecp Phase Disorde.r'3 which substantially limits one or more major life

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activities, including sleeping and waking and the neurological system, which has been
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established on record with an overnight polysonmography and multiple sle_ep latency test,

and was regarded as having such an impairment by many university staff, professors, and
students, as Plaintiff struggled with constant fatigue, trouble waking>in the moming, and
difficulty maintaining a normal sleep routine.
Plaintiff has 15seudobu1bar Affect, which results in pathological, uncontrollable laughing
or crying; in Plaintiff’s case, it is crying. This condition has been established on record by ‘
Plaintiff` s‘neurologist, Dr. Simon Oh, and Plaintiff was regarded as having such an
impairment by Dr. Paul Voakes, a professor at Uni\;ersity of Color'ado Boulder, Amanda
McManus,NPlaintiff"s supervisor at University 'of Colorado Boulder, Christine Mahoney,
Plaintiff’s supervisor at University of Colorado Boulder, Dr. Pol'ly McLean, Plaintiff’ s
advisor at University of Colora'do B_oulder, and Dr. Shu-Ling Chen Berggreen, a
professor at l)niversity of Colorado Boulder.
On February 24, 2015 at 10:39 AM, Plaintiff informed Defendant UCB; via email to her
graduate studies program director, Dr. Janice Peck, of her condition, regarding fact 11,
and becoming sick and having reactions with repeated exposure to tlfe mold in the
Armory building, and requested an accommodation.
The effective accommodation was obvious and easily provided, without 'undue hardship,
as Defendant UCB had no extra on-campus space, that was not inside the offending
building, the Armory,`which has a known flooding and mold problem, so -_Plainfiff was
allowed to work from home, starting February 24,,2015, which included:

a. Plaintiff worked ten hours a week, from August 2014-August 2017, from horne

beginning February 24, 2015, excluding summers, managing the CU CMCl

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internships website, as well as creating digital graphics and maintaining the

Facebook page.

. From May 20'15-August 2015, Plaintiff worked for Defendant UCB full-time,

from home, for the communications office, under supervisors Amanda McManus
and Michelle Fulcher. h
Plaintiff had a signed offer letter, signed on July 10, 2015, for the fall 2015

semester, to work ten hours a week, from home, as a research assistant for Dr.

Paul Voakes.

17. The mold problem in the Armory building is well-known, as was Plaintiff’s
accommodation to work from home, including these examples:

a. Multiple professors have had offices moved to other buildings, including Dr. Shu-

Ling Chen Berggreen, who moved to the building next door, as her health was

negatively impacted by the mold in the building

. The spring 2015 graduate studies pro-seminar course was moved, from the

basement to the top floor, due to students reporting allergy symptoms associated
with time spent in the basement

Plaintiff has an email, from May 20, 2015, from the graduate program assistant,
Martha LaForge, where LaForge tells Plaintiff “You’re smart working out not q
having to come in this building. The heat is ghastly-and it’s hard to know what

'”

to wear. Now Stewart’s office has flooded again_welcome to mold city

. Plaintiff responded asking how Stewart’s office had flooded, if it was because of

the large amounts of rain Colorado has been having, and LaForge responds, “Yes,

the mold smell is pretty strong in the building right now; Stewart is not happy. lt

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was just from the recent rain. lt was flooded in 2013 as well, when 1B01 [thel
room where Plaintiff had all her classes]. And the new employee, Todd, who will
be working across from the ATLAS building by September tells me that he’s had

headaches since he’s been here, from mold he assumes.”

18. On August 20, 2015, Defendants Bergen and UCB verbally withdrew Plaintiff"s existing
disability accommodation, to work from home, that had been in place since February 24, `
2015; the event is characterized as follows:

a. Bergen started the August 20, 2015 meeting with Plaintiff by stating Plaintiff was

“not allowed to cry,” and if Plaintiff cried, the meeting would be concluded

immediately.

.‘ Bergen stated Plaintiff would need to re-prove need for accommodation if

Plaintiff would like to continue working and attending school, as a graduate
student.
Bergen stated she had consulted with Defendant UCB counsel before deciding on

this course of action.

. Other than Plaintiff, two witnesses were present, Dr. Paul Voakes and Dr. Shu-

Ling Chen Berggreen.

. Plaintiff asked how she was to re-prove her need for her accommodation, and

Bergen answered, “go to an allergist or something.”

Dean Lori Bergen

19. Upon information and belief, Dean Lori Bergen is` a University of Colorado Boulder dean
charged with administration of the College of Media, Communication and lnformation

(CMCl), and was new management on or around July 2015,

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20, Upon information and belief, on or around August 2015, Bergen “got on” Dr. Paul
Voakes and Dr. Shu-Ling Chen Berggreen for not showing Plaintiff “tough love” with
regard to the building.

21. Upon information and belief, Bergen told Voakes and Chen Berggreen thatishe did “not `

|like crying” and found it unacceptable that Plaintiff cries.

22. Plaintiff’ s Supervisor, Christine Mahoney, had no need for Plaintiff to be in the building
and was unaware of Plaintiff’s existing accommodation being withdrawn

23. This verbal meeting, referenced in fact 18, was a meeting that Plaintiff had called, about a
violation of graduate student rights, not a meeting about Plaintiff s `disability
accommodation Bergen intentionally sought out information, in a willful and Wanton '”
'manner, to use against Plaintiff and the accommodation was what Bergen could find.

24. Ori August 21, 2015, Bergen provided a letter, dated August 20, 2015, summarizing the
content of the verbal demands of the previous day, the contents and aspects of which are
characterized by the following:

a. The letter was addressed to Plaintif§s on-campus mailbox, UCB 478.

b. Plaintiff would have until~October 1, 2015 to provide “comprehensive
documentation to indicate a significant impairment and make a request” to allow
these “current exceptions” to continue as accommodations b

c. This letter was provided to Plain`tiff via Defendant UCB’s unencrypted email _
Server, Gmail, from the account of Ms. Amy Belue, Bergen’s executive assistant,

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who had no need to know this disability information

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d. This email violated Defendant UCB’s own policies, as their lnstitutional Equity
and Compliance website, at that time, stated, “information relating to a person’s
disability is confidential and may only be released with the person’s permission.”

e. Seven additional people, who had no need to know of this disability information,
were copied on this email, including Janice Peck, PhD, Nabil Echchaibi, PhD,
Paul Voakes, PhD, Shu-Ling Chen Berggreen, PhD, John A. Stevenson, PhD,
Hans W. Foote, PsyD, and Hilary Love.

25. On August 25, 2015, Defendant UCB, involving Michael Roseberry, ADA Coordinator, '
Office of lnstitutional Equity and Compliance, contacted Plaintiff, on behalf of Bergen
and Defendant UCB, the contents and aspects of Which are characterized by the
following:

a. The communication was sent via unencrypted Gmail, with the subject
“Accommodation request.”

b. Roseberry stated that he understood that Plaintiff had “concerns regarding
working in the Armory building,” and he wanted Plaintiff to come to the office to
“discuss any potential accommodations.”

26. On August 26, 2015, Plaintiff delivered an intake questionnaire to the Equal Employment
Opportunity Commission (EEOC) in Denver and was scheduled to return for an intake
meeting on September 3, 2015.

27. On August 28, 2015, Bergen sent, via unsecured Gmail, Plaintiff another letter, the
contents and aspects of which are characterized by the following:

a. Addressed to Plaintiff" s on-campus mailbox, UCB 478.

b. The letter states Bergen is aware of Plaintiff’ s continued need for an “exception.”

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28. On September 2, 2015, Bergen emails Plaintiff a third letter, the contents and aspects of
which are characterized by the following:
a.

b.

29. On September 8, 2015, Plaintiff attended a pelvic floor physical therapy session, for the
diagnosis of pelvic floor dysfunction, a stress-sensitive condition, with Defendant UCB’s
physical therapist, Jerri Miller, at Wardenburg Health Center, during the course of which,
the following notes were made in Plaintiff’S tile:

a.

b.

c.
d.
30. F rom September 2015 to December 2015, Plaintiff fulfilled her research assistantship

duties, fact 16,c, with Dr. Paul Voakes, regarding which the following applies:

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kindicating, she, too, had read this letter, which contained disability information,

Retaliation Against Plaintiff

Addressed to Plaintiff’ s on-campus mailbox, UCB 478.

The letter was provided through the unencrypted Gmail server.
Bergen’s assistant, Ms. Amy Belue, signed her initials, next to Bergen’s signature,
for which Belue had no need to access. g
Bergen states, “there is no further foreseeable need'for you to otherwise be in the

Armory building=in order to perform the job duties.”

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Plaintiff has ‘;been under a great deal of stress with school issues”

Plaintiff “displays tightness in PFM [pelvic floor muscles] _ worse in past several
weeks.”

Plaintiff"s physical therapy progress had significantly regressed.

“discussed deep breathing to reduce tension in PFM” with Plaintiff.

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. ln Defendant UCB’s November 27, 2015 response ito the EEOC, Defendant UCB

acknowledged that Plaintiff is working as a research assistant, stating the college,

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CMCI, “faci_litate[d]” this “opportunity with Dr. Voakes.”

. Defendant UCB failed to fillfill the terms of the offer letter and paid Plaintiff no

wages for her work.
Defendant UCB further failed to provide Plaintiff’ s graduate school tuition

assistance and health insurance stipend, as agreed upon in the offer lette`r.

. The consequences of this failure affected Plaintiff’s graduate school progress,t as

Plaintiff had to drop down to one course, which is considered full-time for a
graduate student.

Plaintiff had to pay out-of-pocket for university health insurance

Another graduate student, Deepan Dutta, who also had an offer letter for a
research assistantship with Dr.' Paul Voakes, worked alongside Plaintiff, do_ing the

same job.

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. Plaintiff was more qualified than Dutta and had seniority, as Plaintiff had a

research background and was a second-year journalism research student, whereas
Dutta was a first-year journalism student, without a‘research background, and he
had not completed any of the media and research methods coufses, nor the

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journalism law and ethics courses that Plaintiff ha`d already fulfilled in her first

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year of graduate school.

. Dutta was paid wages, tuition assistance, and a health insurance stipend.

Every other graduate student employee who had a signed bffe`r letter was paid

wages, tuition assistance, and a health insurance stipend, except Plaintiff,

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31. Plaintiff worked an additional job, also unpaid, from September 2015 to December 2015,
for Defendant UCB, as a teaching assistant, two days a week, for Dr. Polly McLean’s
Global Media Literacy course.

32. On November 11, 2015, Plaintiff applied for spring 2016 graduate assistantship
employment, as encouraged to do so by Dr. Paul Voakes, the former Journalism School
dean and the department chair of Journalism, the results of which were as follows:

a. On December 11, 2015, Plaintiff received an email from Professor Michael
McDevitt, who works underneath Bergen, for Defendant UCB, stating, “1 cannot
offer you a position at this time. l know you are ambitious and you certainly have
much to offer in joumalism, scholarship, and teaching. Thank you for your
interest and best wishes.”

b. All graduate students/ graduate employees who previously had graduate student
assistantships, as had Plaintiff, continued to be awarded assistantship positions for
the spring semester of 2016.

c. Plaintiff was the only individual, who had previously held an assistantship job,
who was not awarded a position

d. Plaintiff"s graduate student progress was again affected, as without an
assistantship, tuition assistance, and a health insurance stipend, Plaintiff could not

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take more than one course.
'33. On December 2, 2015, the Graduate School, of Defendant UCB, sent a letter, via

unencrypted Gmail, to Plaintiff, the contents and asp'ects of which are characterized by

the following:

COMPLAINT
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a. The Graduate School states that Bergen and Defendant UCB treated Plaintiff’ s
“health issues as a disability”

b. The Graduate School recommends that the college, CMCI, of which Bergen is the
dean, should “look into the possibility that the Armory does represent a health
threat to those faculty, staff, and students who have to use it.”

34. On January 15, 2016, Dr. Thomas Kunstman, Medical Director of Defendant UCB’s
Wardenburg Health Center, wrote a letter for Plaintiff, stating:

a. Plaintiff “has been seen by several providers at Wardenburg Health Center,
including myself today for several medical issues which have been bothering
[Plaintiff] for years.”

b. Plaintiff “has been under significant psychological stress regarding difficulties
created by the work site that she was originally assigned to in the Armory
building. [Plaintiff] would develop significant hives when working there, which
was evaluated last year. . .Please take this student’s situation into account
regarding her academic responsibilities as [Plairitiff] seems to be working
diligently through some very difficult times.”

35. On multiple occasions, between September 2015‘and August 2017, including on August
25, 2016, which Plaintiff was notified about via email, on August 26, 2016, and later
discussed in person with Christine Mahoney, Plaintiff’s~supervisor for the lnternships
office, Bergen attempted to remove Plaintiff from the 10-hour a week position with the
lnternships office, one method of which, included the following:

a. Bergen told members of Defendant UCB community, including Dr. Cindy White,

the Associate Dean and Christine Mahoney’s supervisor, which was then relayed

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to Mahoney, that Plaintiff“was not in good standing with the university and
therefore could not ’keep working.
b. Plaintiff was, at all times, in good standing with the‘university.

36. (3n July 31, 2017, Bergen and Defendant UCB sent Plaintiff a letter, through Dr. Cindy
White, which terminated Plaintiff;s 10-hour a week employment with the lnternships
office, “effective August 18, 2017.” k

a. This termination was achieved by “re-distribut[ing]” the funds for Plaintiff' s
position

b. As far as Plaintiff is aware, Plaintiff’s position was the only position that was
eliminated.

E. STATEMENT OF CLAIMS

FOR A FlRST CAUSE OF.ACTION
‘ AGAINST ALL DEFENDANTS .
DISABILlTY DlSCRlMINATlON / FAILURE TO ACCOMMODATE'UNDER
AMERICANS WITH DlSABILITlES ACT

37.-`Plaintiff incorporates paragraphs 1-36, as if repeated verbatim.
38. Defendants are employers subject to ADA, 42 U.S.C. §§ 12101,

39. Plaintiff, Defendants’ employee was well qualified for her position and is protected from

disability discrimination by ADA, 42 U.S.C. § 12112 and § 12112-5(a).

'40. Upon information and belief, Plaintiff'was subject to disability discrimination and failure

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to accommodate disability by the intentional and malicious, willful and wanton, unlawful
withdrawal of an existing disability accommodation and the failure to provide her access
to her mailbox, which contributed to Plaintist privacy being violated, as detailed in this

Complaint.

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41. Plaintiff believed subjectively that the environment was hostile and abusive, and this
series of acts were willful and wanton

42. Upon information and belief, Defendants engaged in this series of discriminatory acts
with malice or reckless indifference to Plaintiff’s federally protected rights, with the
willful and wanton intent of causing Plaintiff severe emotional distress.

43. As a direct and proximate result of Defendants’ discriminatory acts, as stated above,
Plaintiff was caused severe emotional distress and was discharged and has been injured,
as stated above and below in Plaintiff’ s request for relief.

FOR A SECOND CAUSE OF ACTION
AGAINST ALL DEFENDANTS
PROHlBlTED EXAM AND lNQUIRlES / CONFlDENTIALlTY VlOLATlON UNDER
AMERICANS WITH DISABILITIES ACT

44. Plaintiff incorporates paragraphs 1-43, as if repeated verbatim.

45. Defendants are employers subject to ADA, 42 U.S.C. §§ 12101.

46. Plaintiff, Defendants’ employee, was well qualified for her position and is protected from
demands of examination and inquiry by ADA, 42 U.S.C. § 12112-6.

47. Upon information and belief, Plaintiff wa§ subject to'willful and wanton prohibited
inquiries and demands of medical examination, which violated her protected privacy, as
her records were not kept separate and were released, without her permission, to
individuals with no need to know, with the intent of causing Plaintiff severe emotional
distress, as detailed in this Complaint.

48. Plaintiff believed subjectively that the environment was hostile and abusive, and this

series of acts were willful and wanton

COMPLAINT
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49. Upon information and belief, Defendants engaged in this'series of willful and wanton
discriminatory acts with malice or reckless indifference to IPlaintif`f" s federally protected
rights.

50. As a direct and proximate result of Defendants’ series of willful and wanton prohibited
acts, as stated above, Plaintiff was caused severe emotional distress, had her
confidentiality violated, and was discharged and has been injured, as stated above and
below in Plaintiff? s request for relief.

FOR A THIRD CAUSE OF ACTlON
AGAlNST ALL DEFENDANTS
RETA'LIAi:lON / COERCION / DIFFERENT TERMS AND
`CONDITIONS OF EMPLOYMENT / FAlLU_RE TO HIRE UNDER
AMERICANS WlTH DlSABlLlTIES ACT

51. Plaintiff incorporates paragraphs 1-50, as if repeated verbatim.

52. Defendants are employers subject to ADA, 42 U.S.C. §§ 12101.

53. Plaintiff, Defendants’ employee, was well qualified for her position and is protected from
disability discrimination by ADA, 42 U.S.C. § 12112(a) and from retaliation,
interference, coercion, and intimidation by ADA, 42 U.S.C. § 12203(a, bj.

54. l_’laintiff reported the offensive and discriminatory misconduct towards her to the Equal
Employment Opportunity commission

55. _Upon information and belief, because Plaintiff reported this harassment, Plaintiff was
subjected to further discrimination, with the willful and wanton intent of causing Plaintiff
severe emotional distress, including different terms and conditions of employment, as

detailed in this Complaint, and failure to hire, for a position for which she was well

qualified, and then ultimately discharged.

COMPLAINT
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Defendants’ alternative explanation, that Plaintiff was performing an unpaid i`nternship, is

a mere pretext, as supported by the other forms of continuing willful and wanton

retaliation and by Defendants’ acknowledgement that Plaintiff performed her duties and

by the other graduate student, as stated above,' who performed the same job, yet received
all his benefits_, as stated in the` offer letter, while Plaintiff did not. `
Plaintiff believed subjectively that the environment was hostile and abusive, and this
series of acts constituted outrageous conduct that was willful and wanton

Defendants’ offered no explanation for failure to hire, only that Plaintiff certainly had
much to offer in journalism, scholarship, and teaching, indicating that Plaintiff was well

qualified for the position for which she was not hired, which added to`the{continuing

willful and wanton retaliation that Defendants levied against Plaintiff prior to her

4 termination and othei evidence.

Defendants’ allernative explanation that the funds for Plaintiff’ s job were redistributed, x
is a mere pretext, as supported by the other forms of continuing willful and wanton
retaliation that Defendants levied against Plaintiff prior to her termination and other
evidence.
As a direct and proximate result of Defendants’ willful and wanton,r“etaliation, as stated
above, Plaintiff was caused severe e"motional distress and was discharged and has been
injured, as set forth above and below in Plaintiffs request for relief.
FOR A FOURTH CAUSE OF ACTION
' AGAlNST ALL DEFENDANTS
DlSCRlMlNATORY OR UNFAlR EMPLOYMENT PRACTICES UNDER
COLORADO ANTl- DlSCRIMINATlON ACT

Plaintiff incorporates paragraphs 1-"60, as if repeated verbatim.

Defendants are employers subject to CADA, C.R.S. § 24-34-401.

COMPLAINT
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Plaintiff, Defendants’ employee, was well qualified for her position and is protected from

discriminato'ry or unfair employment practices by CADA, C.R.S. § 24-34-402.

Plaintiff believed subjectively that the environment was hostile and abusive, and this

series of acts constituted outrageous conduct that was willful and wanton

Upon information and belief, Defendants engaged in this series of willful and Wanton

discriminatory acts, with malice or reckless indifference to Plaintiff’s state protected

rights, and with the intent of causing Plaintiff severe emotional distress.

As a direct and proximate result of Defendants’ outrageous conduct, that was willful and

wanton, as stated above, Plaintiff was caused severe emotional distress and was

discharged and has been injured, as set forth above and below in Plaintiff’ s request for

relief`. 1 l
FOR A FlFTH CAUSE OF AC-TION
d AGAlNST ALL DEFENDANTS

DlSABlLlTY DISCRlMlNATlON / FAlLURE TO ACCOMMODATE UNDER

COLORADO ANTl-DISCRlMlNATlON ACT

Plaintiff incorporates paragraphs 1-66, as if stated verbatim.

Defendant is an employer subject to CADA, C.R.S. § 24-34-401.

Plaintiff, Defendants’ employee, was well qualified for her position and is protected from

disability discrimination and harassment, with reasonable accommodation required, by

CADA, C.R.S. § 24-34-403.

Upon information and belief, Plaintiff was Subject to the willful and wanton harassment

and withdrawal of her existing reasonable disability accommodation, which had existed

with no .undue burden on the employer, as detailed in this Complaint.

Defendants’ series of acts were grossly negligent, willful and wanton, constituting

extreme and outrageous conduct, as they were purposefully committed, recklessly with

COMPLAINT
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conscious disregard for the rights and safety of Plaintiff, and with intent of causing
Plaintiff severe emotional distress.

72. Plaintiff believed subjectively that the environment was hostile and abusive, and this
series of acts constituted outrageous conduct that was willful and wanton

73. As a direct and proximate result of Defendants’ series of discriminatory acts, as stated
above, Plaintiff was caused severe emotional distress and was discharged and has been
injured, as stated above and below in Plaintiff"s request for relief.

F. ADMINISTRATIVE PROCEDURES

74. Plaintiff filed an intake questionnaire, on August 26, 2015, and a charge of ongoing
discrimination and retaliation with the Equal Employment Opportunity Commission
(EEOC) on September 03, 2015. Plaintiff filed this charge with the EEOC within the
statutorily required time period since Defendants’ illegal employment actions.

75. The EEOC issued Plaintiff a right-to-sue letter on or about October 30, 2018.

G. REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully asks for a judgment against Defendants for:

l. lnjunctive and equitable relief as the Court deems appropriate including:

i) A trial by jury;

ii) Requiring Defendant UCB to fix the leaks and flooding problems in the UCB
Armory building, including cleaning within the walls and under the carpets,
rather than simply testing the air in two different locations, or else condemn
the building and mov`e faculty, staff, and students elsewhere, so as to no

longer recklessly, in a willful and wanton manner, endanger anyone’s health;

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iii)

Requiring Defendant UCB to provide all staff, faculty,‘ and administrators
ADA training, with specialized training on invisible'disabilities, including
specifically, but not limited to, the Ehler§-Danlos Syndromes, Mast Cell
Activation Syndrome (MCAS), Dysautonomia and Postural Orthostatic
Tachycardia Syndrome (POTS), ldiopathic Hypersomnia'_`andjl\larcolepsy,
Chronic lnflammatory Demyelinating Polyneuropathy ((31131;), Pelvic Floor
Dysfunction, lnterstitial Cystitis, Gastroparesis, Pseudobulbar Affect;
Compelling Defendant Bergen to undergo training on emotional development
and emotional intelligence; q

Compelling Defendant UCB to create a system to allow students the ability,
without fear of retribution, to anonymously report faculty and staff who are
exhibiting concerning behaviors. Other schools have such systems in place, as
it is certainly untrue that administrators, faculty, and staff never do anything
wrong Defendant UCB, however, only has a program for faculty and staff to
report students. Graduate students, in particular, live in the precarious ground
between employee and student, always at the mercy of having their student
status leveraged against them as an employee and vice versa. Faculty can too
easily sabotage a graduate student’s future, unnecessarily defame a student’s
character, and immensely contribute to a student’s health declining, as
demonstrated by this case; yet, despite the frequency with which these
problems, including ADA violations, occur, rarely are institutidns and

administrators held responsible for their actions;

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Requiring Defendant LlCB refund all money that Plaintiff paid to Defendant
UCB in association with this degree program (from 2014 to 2017);

The lost value of 'Plaintiff’ s insurance policy and compensation for medical
expenses incurred due to the loss of Plaintiff" s health insurance stipend;
Compensation for any and all other physical, emotional, and/or medical
problems Plaintiff suffered as a result of Defendants’ discriminatory actions;
Compelling Defendant UCB pay Plaintiff for the fall 2015 labor, that
Defendant UCB willingly took the credit for, including the money Plaintiff
should have received in tuition assistance;

Plaintiff requests recouping lost wages, in the amount the court deems
appropriate, since January 2016 and lost wages since May 2016, when
Plaintiff would have otherwise graduated, if not for Defendants interference in
Plaintiff’ s graduate employment, and therefore‘graduate school progress, with
a master’s degree, and therefore would have earned higher wages (the average
salary for a research position with a master’s iii journalism, according to the
U.S.JBureau of Labor Statistics, as of May 201_5, was $65,530);

Requiring Defendant UCB to pay all tuition and fees, including the cost of

' books, associated with the cost of Plaintiff completing a graduate program at

another institution, including paying the costs of the five prerequisite courses
Plaintiff needs to attend a new program, as well as paying a monthly living
stipend during the course of these five prereqiiisite courses and Plaintiff’ s

graduate program; and

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. Compensatory damages, including but not limited to all other expenses and damages

suffer'ed by Plaintiff, which arose from the willful and wanton discrimination, abuse, and
termination of Plaintiff, except for the retaliation claim, unless the court allows such

damages, to be paid by all Defendants, according to proof at trial;

. General damages, including but not limited to damages for emotional distress, damages

to Plaintiff’ s reputation, time, and pain and suffering inflicted by Defendants’ willful and

,r

wanton conduct;

. lncidental damages that Plaintiff suffered as a result of Defendants’ willful and wanton

conduct; t

. Pre-judgment and post-judgment interest;

v\.

. Punitive damages for Defendants"willful and wanton, malicious and/or recklessly

indifferent conduct towards Plaintiff, except for the retaliation claim, unless the court

allows such damages, to be paid by all Defendants, according to proof at` trial;

. Costs and fees, including all attorney fees, to the extent allowed by law, with interest;

. Any and all other relief as the court deems appropriate

H. PLAIN'I`IFF’S SIGNATURE

l declare under penalty of perjury that l am the plaintiff in this action, that I have read this

complaint, and that the information in this complaint is true and correct. See 28 U.S.C. § 1746;

18 u.s.C. § 1621.

l
Under Federal Rule of Civil Procedure 11, by signing below, l also certify to the best of

my knowledge, information, and belief that this complaint: (1) is not being presented for an

improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the cost of

COMPLAINT
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litigation; (2) is supported by existing law or by a nonfrivolous argument for extending or
modifying existing law; (3) the factual contentions have evidentiary support or, if specifically so
identified, will likely have evidentiary support after a reasonable opportunity for further
investigation or discovery; and (4) the complaint otherwise complies with the requirements of

Rule 11.

Plaintiff hereby requests a trial by jury on all issues triable`by. jury.

Respectfully s’ubmitted, l

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MURRAY MEETZE

 

January 28, 2018

COMPLAINT
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Plaintiff Exhibit A

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DlSMlSSAL AND NOTICE OF RlGHTS

T°`- M""°y M' M°°‘z° Ff°mf `Denver Fleld Offico

2301 Goss Street 303 East 17th Avenue
Boulder, CQ 80302 $uite 410

Denver, CO 80203

 

l:] On behalf of person(s) aggrieved whose identity la .
. CONFIDENT?AL 129 CFR §1601.7(¢)1 '
EEOC Charge No. EEOC Representativo Telephone No.
Christoptier D. Fadllla,
541-2015-02257 d Supervioory investigator (303) 866-1336

 

THE EEOC lS CLOS|NG lTS FiLE ON TH|S CHARGE FOR THE FOLLOW|NG REASON:

The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.
¥our allegations did not involve a disability as denned by the Americans With Disabilities Act. l
The Respondent employs less than the required number of employees or is not otherwise covered by the statutes

Your charge was not timely tiled with EEOC; in other words, you waited too long after the date(s) of the alleged discrimination
to ila your charge

The EEOC issues the following determination: Based upon its investigation the EEOC is unable to conclude that the
information obtained establishes violations ol the statutes Thls does not certify that the respondent is in compliance with
the statutes No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEGC has adopted the findings of the state or local fair employment practices agency that investigated this charge

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Other (bn`efly stale)

- NOT|CE OF SU|T RIGHTS -
(See the additional information attached lo this fomil.)

Tltlo Vll, the A'mericans with Dlsabllltles`Act, the Genetlc lnfonnatlon Nondiscrimlnation Act, or the Age
Discrimination in Employment Act: Thls will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court ¥our

lawsuit must be filed wlTH|N 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
iost. (The tii'ne iimit for filing suit based on a claim under state la\.».-' may be different.)

Equal Pay Act (EPA): EPA suits must be med in fedeial or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment This means that backpay due for any violations that occurred or h n 2 ea 3 ears
before you tile suit may not be collectible.

On behalf of the Commission

g OCT:i 0 2018

Amy Bu;khoider, mae nar/sai
Fle|d Office Director

Enclosures(s)

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OFFlCE OF UN|VFJIS[TY COllNSEL - t ‘

